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   UNITED STATES DI
   SOUTHERN DISTRIC                   YORK
                                                            X

   UNITED STATES 0

                                                                 UNSEALING ORD R

   JUAN FRANCISCO         RTAS  ILLE GAS,                        21 Mag. 122
                                 L,
   JOSE MARIA CASTI            IO, and
   JESUS ALBERTO MO       LO CASILLO,

                    Def
                                       -    -    -    -     X



         Upon the   app   cation of             the       United States,

United States Att         ney    fo        the       Southern    District of

Audrey Strauss, by        ssista t United States Attorneys Ky

and Jacob Gutwilli

     It                    the C mplaint in the above-caption
21 Mag. 122, is cu                    ealed and the United States              ttorney's
Office has applied         have       hat Complaint unsealed, it is            herefore

     ORDERED that         e Comp aint in the above-captioned                   ction be

unsealed and remai        unseal d pending further order of th                     Court.


SO ORDERED.

Dated:    New York , N     York
          January 12,     021




                                                                                     UDGE
